Case 1:20-cv-00052-SPW Document 267-24 Filed 09/27/23 Page 1 of 3

From: Brett Jensen

To: Ryan Shaffer

ce: Katy Gannon; Rob Stepans; Jessica Yuhas; Jon Wilson; Michael Sarabia
Subject: RE: Rule 35 exams

Date: Tuesday, September 19, 2023 4:11:42 PM

Hi Ryan:

As you know, the turnarounds on this are slow on our end because every time you change
something | have to run it by WTNY and Dr. Butz and get their approval. Frankly, the latest MOU sent

to us on August 30" was completely unacceptable. There were many changes that had never been
made in previous drafts that were not previously negotiated. | think this has become a drawn out
exercise in futility. | think to keep thing moving along we just need to get the Rule 35 motion in front
of Judge Watters. If there are concessions to be made about the parameters of the exams, they can
be made in the briefing. If we see an opportunity to get an agreement signed such that the exams
can proceed while the motion is being decided, | am open to that.

| assume you object to the motion, which will be filed along the same parameters of the latest MOA

we sent you on August 1gth, but please let me know by tomorrow at noon.
Sincerely,

Brett C. Jensen
Brown Law Firm, P.C.

315 North 24" Street

P.O. Drawer 849

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From: Ryan Shaffer <ryan@mss-lawfirm.com>

Sent: Tuesday, September 19, 2023 2:40 PM

To: Brett Jensen <Blensen@brownfirm.com>

Ce: Katy Gannon <katy@mss-lawfirm.com>; Rob Stepans <rob@mss-lawfirm.com>; Jessica

EXHIBIT

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Case 1:20-cv-00052-SPW Document 267-24 Filed 09/27/23 Page 2 of 3

<jessica@mss-lawfirm.com>
Subject: RE: Ruie 35 exams

Hey Brett,

Are Defendants still interested in getting this MOA/MOU cone and having Dr. Butz examine the
Plaintiffs?

Ryan R. Shaffer

Meyer, Shaffer

& Stepans, Pip

Montana Office:

430 Ryman St.
Missoula, MT 59802
Tel: 406-543-6929
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From: Ryan Shaffer

Sent: Wednesday, August 30, 2023 6:17 PM

To: Brett Jensen <Blensen@brownfirm.com>

Cc: Katy Gannon <katy@mss-lawfirm.com>; Rob Stepans <rob@mss-lawfirm.com>; Jessica Yuhas
<jessica@mss-lawfirm.com>

Subject: Rule 35 exams

Brett,
Please find attached a modified MOU. We can call it an MOA if you are wed to that.

As to Section B, we could simplify it by taking out our respective positions, and just identify the three
disagreements that will either get resolved, or be the subject of later motions.
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Before finalizing, we still need to know whether Dr. Butz is proposing the general category of
neuropsych testing.

Ryan R. Shaffer

© Meyer, Shaffer
| & Stepans, pip

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